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1                                                                 The Honorable Thomas S. Zilly

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8                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
9                                      AT SEATTLE
10
          STRIKE 3 HOLDINGS, LLC, a
11        Delaware corporation,                         No. 2:17-cv-01731-TSZ

12                              Plaintiff,             PLAINTIFF’S SUPPLEMENT IN
                                                       RESPONSE TO DEFENDANT’S
13                v.                                   MOTION FOR SUMMARY
                                                       JUDGMENT
14        JOHN DOE, subscriber assigned IP
          address 73.225.38.130,                        Noted on Motion Calendar:
15                                                      November 1, 2019
                                Defendant.
16

17

18   I.       Introduction

19            On September 19, 2019, the Court entered an order stating that “Plaintiff may

20   designate one expert to examine [Defendant’s] ‘imaged’ hard drive,” but ordered that the

21   examination was to be “limited to searching for existing and/or deleted files matching the

22   hash values set forth in Exhibit A to the Complaint, docket no. 1.” Dkt. No. 182 (“Court’s

23   Order” or “Order”) (emphasis added). The Court’s Order also instructed that Plaintiff’s

24   expert “may not search for or view any other materials on the ‘imaged’ hard drive,

25   including any items protected by attorney-client or work-product privilege.” Id.

26            After carefully reviewing the Order, consulting with experts, and attempting to meet
     and confer with Defendant’s counsel, Plaintiff determined it was unable to search for the
     PLAINTIFF’S SUPPLEMENT IN RESPONSE
     TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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1    hash files on Exhibit A without violating the Court’s Order. This is because the hash values

2    are contained inside of each torrent file in such a way that each torrent file would need to be

3    individually viewed, resulting in the possibility of viewing other BitTorrent activity on

4    Defendant’s hard drive in violation of the Court’s Order. Moreover, under the parameters

5    of the Court’s Order, Plaintiff would be unable to confirm that the hard drive belonged to

6    Defendant or whether it was wiped clean with file destruction software. For these reasons,

7    Plaintiff believed the expert time, counsel’s time and any travel cost associated with expert

8    examination would no longer serve the goals of Fed. R. Civ. P. 1, nor be objectively

9    reasonable under the circumstances. Indeed, the Parties are actively litigating the issue of
10   whether Defendant should be owed attorneys’ fees. Plaintiff did not believe it was

11   reasonable to conduct an examination that would cause each party to incur significantly

12   more fees, along with expert costs and travel, under circumstances where its expert has

13   made it clear that such an examination could not produce any conclusive results without

14   violating the Court’s Order.

15   II.     Any Examination of Defendant’s Hard Drive to Search for the Hash Values on

16           Exhibit A Would Violate the Court’s Order

17           Plaintiff’s forensic expert was unable to craft an examination protocol that would

18   confirm the presence or absence of Plaintiff’s Works while simultaneously complying with

19   the Order’s limitations. See concurrently-filed Declaration of Patrick Paige, ¶ 7.
20           The Order permits Plaintiff to only search for the hash values listed in Exhibit A to

21   Plaintiff’s Complaint (“Exhibit A Hashes”). However, the Exhibit A Hashes are simply

22   “Info Hashes.” Id. at ¶ 10. An Info Hash is a hash value of specific data contained within a

23   .torrent file.1 Id. The “Info Hash” is the data that the BitTorrent protocol uses to identify

24   1
        Importantly, an Info Hash is the hash that identifies the infringing file in a Google search.
25    Plaintiff opted to include these hashes in its Exhibits to complaints, rather than the titles of
      its films, to avoid any unnecessary correlation between the Defendant and adult activity.
26    These hashes enable Defendant to readily identify the Works at issue through Google. This
      is why Plaintiff stated in its complaint “that the file hash correlating to each file matched
      the file hash downloaded by Defendant.” See Dkt. No. 1, at ¶¶ 23–26 (emphasis added).
     PLAINTIFF’S SUPPLEMENT IN RESPONSE
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1    and locate the desired file (in this case, the desired file is the respective file for the

2    infringing motion pictures that were the subject of the action) across the BitTorrent

3    network. Id.

4            Since each Info Hash is made of up of specific information inside of a .torrent file,

5    searching for the Exhibit A Hashes necessarily entails a specific process: it requires

6    searching within all .torrent files on a computer. Id. at ¶ 11. Thus, for Plaintiff’s expert to

7    properly search for the Exhibit A Hashes on Defendant’s hard drive, he would need to take

8    the following steps:

9                   •   First, he would use AXIOM forensic software to locate all the .torrent files
10                      on the hard drive.

11                  •   Second, he would export the located .torrent files out of the hard drive

12                      image. Exporting entails taking the .torrent files and copying them onto a

13                      third-party computer.

14                  •   Third, he would run the exported .torrent files through an open source

15                      software called Torrent Hash Extractor2 (or, in the alternative, any other

16                      software designed to extract the hashes within a .torrent file), which allows

17                      him to obtain and view the Info Hash for each .torrent file.

18                  •   Finally, he would manually compare the Info Hashes to the Exhibit A

19                      Hashes to see if any matched.
20   Id. at ¶ 12.

21           This is the only method known which would allow for a search for the Info Hashes

22   listed in Exhibit A. Id. at ¶ 13. However, performing this examination protocol – the only

23   way to search Defendant’s hard drive for the Exhibit A Hashes – would violate the Court’s

24
     The Info Hash is able to easily enable a defendant or defense counsel to readily identify the
25   infringing file through a simple Google search.
26   2
      https://www.softpedia.com/get/Internet/Other-Internet-Related/Torrent-Hash-
     Extractor.shtml.
     PLAINTIFF’S SUPPLEMENT IN RESPONSE
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1    Order. Id. at ¶ 14. Indeed, searching for .torrent files, exporting the .torrent files, and

2    running a program designed to search the contents of the .torrent files is prohibited by the

3    Court’s instruction, which states that Plaintiff “may not search for or view any other

4    materials on the ‘imaged’ hard drive, including any items protected by attorney-client or

5    work-product privilege.” Id. at ¶ 15 (citing Dkt. No. 182). This is because the search

6    would require Plaintiff’s expert to view every .torrent file on Defendant’s hard drive to

7    determine if it matched the Exhibit A hashes, enabling him to view other BitTorrent content

8    that may exist on Defendant’s hard drive, which is specifically prohibited by the Court’s

9    Order. Id.
10            Plaintiff raised its concerns with defense counsel. Specifically, on October 2,

11   Plaintiff explained that the Exhibit A Hashes “are the internal hashes within the produced

12   .torrent files for the movies in this case,” and that it was working with its expert to find a

13   way to lawfully search Defendant’s hard drive. See Exhibit 1. In response, defense counsel

14   stated: “It is unclear what ‘protocol’ you reference, but the examination we’ll agree to is the

15   one the Court ordered.” Id. (emphasis added). At this point, Plaintiff realized that the

16   Parties would be unable to reach an agreement on a new search protocol to present to the

17   Court. Aware that the search authorized by the Order could not possibly produce any

18   information relevant to the lawsuit, and to avoid wasting both Parties’ time and resources,

19   Plaintiff opted to forego the examination.3
20   III.     Defendant’s Search of the Hard Drive Would Also Not Have Produced

21            Relevant Information

22            Defendant relies on Mr. Michael Yasumoto’s Expert Report for his conclusion “that

23   the Strike 3 files did not exist on the ASUS hard drive.” See Dkt. No. 174, at 17. But the

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25   3
      Given the disfavored nature of motions for reconsideration in this District, the highly
     contentious positions between the parties and the already extensive briefing in this case and
26   on this issue, Plaintiff did not believe filing a motion for reconsideration would be
     productive at this stage in the case.
     PLAINTIFF’S SUPPLEMENT IN RESPONSE
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1    methodology utilized by Defendant’s expert does not support that conclusion. Specifically,

2    in his Report, Mr. Yasumoto “compared the SHAl hash […] and none of the videos

3    examined on defendant’s computer were a hash match for the videos listed in Exhibit [A].”

4    See Dkt. No. 175-10, at 5. As set forth above, however, this examination method is flawed

5    and would not have yielded evidence that the .torrent files were on the hard drive, even if

6    they in fact were on there. Plaintiff produced all of the .torrent files which correlate to the

7    infringing movies at issue.4 And, therefore, Defendant’s expert would have been in a

8    position to confirm that the Exhibit A Hashes are the Info Hashes within each .torrent file.

9    But nothing in Mr. Yasumoto’s report indicates that he actually reviewed the .torrent files
10   on Defendant’s hard drive to determine if the Info Hash was contained in any of those

11   .torrent files. Thus, the purported search for internal Info Hashes as described in Mr.

12   Yasumoto’s Expert Report would never yield any matches even if the .torrent files

13   themselves were located on the hard drive. His conclusion, therefore, supports neither

14   party’s position in this matter.

15   IV.     Two Additional Factors Weighed Against An Examination

16           1.     Plaintiff Cannot Confirm the Hard Drive Belongs to Defendant

17           To conduct a computer forensic examination of a device in a BitTorrent copyright

18   infringement case, Plaintiff’s expert would first attempt to confirm the user/owner of the

19   hard drive in question. Paige Decl. ¶ 16. This is done so that the discovery of evidence (or
20   lack of evidence) is attributed to the correct party. Id. Here, even if Plaintiff’s expert

21   examined the hard drive in question using the methodology outlined above, and the device

22   contained no evidence of infringement or destruction of evidence, Plaintiff would still not

23   be able to conclude that Defendant’s hard drive did not contain such evidence. Id. This is

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      Plaintiff produced all of these .torrent files in discovery to Defendant, and they were
     examined by Defendant’s expert, Mr. Brandon Garcia-Paeth. Dkt. No. 175-11.
     PLAINTIFF’S SUPPLEMENT IN RESPONSE
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1    because Plaintiff was not permitted to locate evidence confirming Defendant’s ownership of

2    the device. Id.

3           2.         Plaintiff Cannot Confirm Whether Defendant Wiped His Hard Drive

4                      Clean

5           Plaintiff would be unable to determine if anti-forensic software was employed to

6    avoid detection of the infringing files on Defendant’s hard drive. See Paige Decl. ¶ 17.

7    This includes the use of wiping software. Id. To explain, the Order states that the

8    examination “shall be limited to searching for existing and/or deleted files matching the

9    hash values[.]” Id. (citing Dkt. No. 182). The existence of remnants of deleted files
10   containing the hash values, however, is not the only method of establishing file deletion.

11   Id. Indeed, file deletion is also established by determining if the hard drive has been wiped.

12   Id. When a defendant wipes his hard drive, there are likely no remnants of deleted files. Id.

13   Plaintiff’s expert would be able to determine, however, that data destruction took place by

14   searching the hard drive’s registry for dates of significant events such as an operating

15   system’s installation date, Windows event logs, software installation dates, or files

16   evidencing the use of (and running) software designed to wipe a hard drive. Id. From

17   Plaintiff’s expert’s experience examining hard drives in file sharing cases, one of the most

18   common forms of data destruction is when a defendant wipes his hard drive. Id. Plaintiff

19   was precluded from conducting such a search.
20   V.     Foregoing the Examination Was Objectively Reasonable

21          In the Parties’ July 29, 2019 Joint Status Report (Dkt. No. 173), Plaintiff stated that

22   it could not withdraw its Motion to Compel Production of Defendant’s Hard Drives (Dkt.

23   No. 125) for two reasons. First, because the hard drive may contain evidence related to

24   contributory infringement and second, because evidence of spoliation can affect the

25   attorney fees issue. Dkt. No. 173 at 4. In light of the reasons set forth above, Plaintiff

26   determined that conducting an examination of the hard drive was not reasonable and would


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1    needlessly cause each party to incur unnecessary costs. See e.g. Countryman Nevada, LLC

2    v. DOE, 193 F. Supp. 3d 1174, 1183 (D. Or. 2016) (“Litigation conduct that needlessly

3    increases the expense of resolving copyright disputes neither encourages innovation nor

4    appropriately rewards an author’s creation.”)

5    VI.     Conclusion

6            Plaintiff had evidence of substantial and long-term infringement of its works coming

7    from Defendant’s IP address. To confirm the person responsible for that activity, Plaintiff

8    sought the name and address of the ISP subscriber. Defendant refused to provide that

9    information for months, but once it was provided, Plaintiff conducted a further investigation
10   and determined that the likely infringer was Defendant’s adult-aged live at home son and

11   Plaintiff dismissed the action.

12           But the action continued for one reason: Defendant’s attorneys wanted to try to

13   recover attorneys’ fees, so they continued their declaration of non-infringement

14   counterclaim for months, forcing the Parties to incur countless motions, depositions, and

15   discovery related expenses.5 Plaintiff’s case was objectively reasonable, terminated after

16   limited activity, and Plaintiff (like here with this motion to compel) has continually tried to

17   stem the flow of time and expense by the parties and the Court in concluding this matter. In

18   this instance, Plaintiff ultimately determined that because the search could not conclusively

19   produce results without violating the Order, it was not in the Parties’ best interest to incur
20   further costs and fees.

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       Indeed, although Defendant filed a counterclaim early in the litigation, he unexplainably
     failed to file an answer. When Plaintiff determined it was no longer going to sue Defendant
25   or pursue litigation, it dismissed without prejudice. Defendant’s only avenue for attorneys’
     fees was this prolonged litigation, despite the knowledge that he had never been publicly
26   identified, so he did not need to clear his name, and Plaintiff had no desire to pursue its
     claims against him, as evidenced by its dismissal.
     PLAINTIFF’S SUPPLEMENT IN RESPONSE
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1
     DATED this 28th day of October, 2019
2

3                                           LAW OFFICES OF
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4                                           By: /s/ Lincoln Bandlow
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7                                           Los Angeles, CA 90067
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9                                           Attorneys for Plaintiff
10
                                            THE ATKIN FIRM, LLC
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20                                          Attorneys for Plaintiff
21

22

23

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     PLAINTIFF’S SUPPLEMENT IN RESPONSE
     TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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                     EXHIBIT 1
                  Case 2:17-cv-01731-TSZ Document 183 Filed 10/28/19 Page 10 of 15


Jeremy Roller

From:                              Adrienne McEntee <amcentee@terrellmarshall.com>
Sent:                              Thursday, October 3, 2019 10:45 AM
To:                                Lincoln Bandlow; J. Curtis Edmondson
Cc:                                John Atkin; Jeremy Roller
Subject:                           RE: Strike 3 v Doe - wdwa - discovery order


Lincoln,

Thank you for your response. We are a week out from the deadline for Strike 3 to perform the examination the Court
authorized. The examination “shall be limited to searching for existing and/or deleted files matching the hash values set
forth in Exhibit A to the Complaint, docket no. 1.” Dkt. No. 182. Strike 3 represented in its Complaint that Exhibit A was
proof “that the file hash correlating to each file matched the file hash downloaded by Defendant.” See Dkt. No. 1 at
paras. 23 to 26. Tobias Fieser reiterated this point in his declaration when he testified that “IPP’s software determined
that the files being distributed by Defendant’s IP Address have a unique identifier of the Cryptographic Hash outlined on
Exhibit A.” Dkt. No. 4-3. And, in Response to RFP 11’s request for all torrent files accessed by the infringement detection
software corresponding to the Works, Strike 3 confirmed: “The only relevant .torrent files are those which Plaintiff
alleged that Defendant infringed in this case.” Those files are listed on Exhibit A. It is unclear what “protocol” you
reference, but the examination we’ll agree to is the one the Court ordered. Please let us know by end of day tomorrow
which of these dates work: 10/7, 10/8, 10/9, or 10/10.

Adrienne D. McEntee
Terrell | Marshall Law Group PLLC
936 N 34th Street, Suite 300 | Seattle, WA 98103
T 206.816.6603 | F 206.319.5450

From: Lincoln Bandlow <lincoln@bandlowlaw.com>
Sent: Wednesday, October 02, 2019 4:53 PM
To: Adrienne McEntee <amcentee@terrellmarshall.com>; J. Curtis Edmondson <jcedmondson@edmolaw.com>
Subject: [External] RE: Strike 3 v Doe - wdwa - discovery order

Adrienne,

We apologize for the delay in responding. We originally had an expert agree to complete the examination but he
recently cancelled due to a personal family emergency. We were able to secure a new expert to conduct the
examination and have started working with him on a proper protocol. However, as you may be aware, the hash values
listed in Exhibit A to the Complaint (Dkt. 1) are not hashes for the movie files themselves. Rather, they are the internal
hashes within the produced .torrent files for the movies in this case. This small wrinkle, however, significantly
complicates how any search for these hashes is performed. We are working with our expert to determine a proper
protocol that is efficient, reasonable, and complies with Judge Zilly’s order. We hope to have an update soon.

Lincoln Bandlow




1801 Century Park East, Suite 2400
Los Angeles, CA 90067
                                                             1
                  Case 2:17-cv-01731-TSZ Document 183 Filed 10/28/19 Page 11 of 15
P: (310) 556-9680 | F: (310) 861-5550
Lincoln@BandlowLaw.com
www.BandlowLaw.com

From: Adrienne McEntee <amcentee@terrellmarshall.com>
Sent: Wednesday, October 2, 2019 11:07 AM
To: Lincoln Bandlow <lincoln@bandlowlaw.com>; J. Curtis Edmondson <jcedmondson@edmolaw.com>
Cc: Jessica Fernandez <jessica@strike3holdings.com>; Emilie Kennedy <emilie.kennedy@genmediasys.com>
Subject: RE: Strike 3 v Doe - wdwa - discovery order

Lincoln,

We have not heard back from you regarding scheduling the examination. We offered six dates to complete the
examination prior to the 10/10 deadline, two of which have now passed. Please respond.

Adrienne D. McEntee
Terrell | Marshall Law Group PLLC
936 N 34th Street, Suite 300 | Seattle, WA 98103
T 206.816.6603 | F 206.319.5450

From: Lincoln Bandlow <lincoln@bandlowlaw.com>
Sent: Monday, September 23, 2019 6:01 PM
To: J. Curtis Edmondson <jcedmondson@edmolaw.com>; Adrienne McEntee <amcentee@terrellmarshall.com>
Cc: Jessica Fernandez <jessica@strike3holdings.com>; Emilie Kennedy <emilie.kennedy@genmediasys.com>
Subject: [External] RE: Strike 3 v Doe - wdwa - discovery order

Curt,

I have reached out to our expert and am waiting for some proposed dates on his end. But I wanted to let you know that
our expert needs at least two days blocked out. We do not know how long it will take the forensic software to process
the hard drive. Although we hope that the processing will take only 6-12 hour, that is an optimistic guess and I would
rather give the expert some room in case it’s needed. Also, we prefer to have the examination occur at a neutral third
party’s office. I propose at the Veritext office located at 1200 Fifth Avenue, Suite 1820, Seattle, WA 98101. We think
these are reasonable requests but let me know if you disagree. Finally, nearly half of your proposed dates are outside
the period required under the Court’s Order. Our expert is looking into the dates you proposed that are within the
court’s time frame. If our expert’s schedule does not align with Mr. Yasumoto’s, we can discuss seeking an extension
from the Court. But we can cross that bridge when we get to it.

Thank you,

Lincoln Bandlow




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                                                          2
                 Case 2:17-cv-01731-TSZ Document 183 Filed 10/28/19 Page 12 of 15

From: J. Curtis Edmondson <jcedmondson@edmolaw.com>
Sent: Monday, September 23, 2019 2:28 PM
To: Lincoln Bandlow <lincoln@bandlowlaw.com>; Adrienne McEntee <amcentee@terrellmarshall.com>;
jcedmondson@edmolaw.com
Subject: Strike 3 v Doe - wdwa - discovery order


Hi Lincoln:


I have the dates for Michael Yasumoto:

9/24
9/27
10/4
10/7 - 10/11
10/14
10/18
10/28 - 10/31

Michael needs to have hard dates soon. My 10/4 is not great as I will be in LA for my daughters x-country meet the
following day. On 10/14, I will be in the Seattle area.

As for the hard drive. The chain of custody is easiest if Michael takes it to my office (his office is about 1mile away) in
Hillsboro, where your expert can inspect.

I think it should take from 6-12 hours to process the drive which I believe is in an .EO1 format (Encase). Then the hash
searching after that should take less than a 1/2 hour. So we can set it up in my office, let it run for a day, then your hard
drive guy can come back.

I am open to your suggestions. Call me and we can discuss.

B. Regards,

Curt Edmondson 503-701-9719

         From: Lincoln Bandlow <lincoln@bandlowlaw.com>
         Sent: Friday, September 20, 2019 3:29 PM
         To: Curt Edmondson <edmolaw@gmail.com>; Adrienne McEntee <amcentee@terrellmarshall.com>
         Cc: John Atkin <JAtkin@atkinfirm.com>; Jeremy Roller <jroller@aretelaw.com>
         Subject: [External] WAWD1003

         Dear Curt and Adrienne,

         Pursuant to the Court's Order that was issued yesterday, we want to proceed with the
         examination of your client's hard drive. Our expert is generally available to do so in the next 21
         days. Please provide me with dates and times in the next two weeks when this examination can
         take place. Please also provide me with a proposed location in Washington. We anticipate
         needing approximately two days for this exam to be conducted.

         I look forward to hearing from you.

                                                              3
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        Lincoln Bandlow




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1                                   CERTIFICATE OF SERVICE
2            I, Annabel Barnes, hereby certify that on October 28, 2019, I electronically filed the
3    foregoing document with the Clerk of the Court using the CM/ECF system which will send
4    notification of filing to the following parties:
5
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6
                     E-mail: joshua@turnhamlaw.com
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                     Attorneys for Third-Party Witnesses Tobias Fieser, IPP International UG,
23                   Bunting Digital Forensics, LLC, Stephen M. Bunting

24                   Adrienne D. McEntee, WSBA #34061
                     Beth E. Terrell, WSBA #26759
25
                     Email: bterrell@terrellmarshall.com
26                   amcentee@terrellmarshall.com
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     PLAINTIFF’S SUPPLEMENT IN RESPONSE
     TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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                   Oregon 97124
6                  Telephone: (503) 336-3749
7
                   Attorneys for Defendant
8

9
     DATED this 28th day of October 2019 at Seattle, Washington.
10

11                                             /s/ Annabel Barnes
12                                             Annabel Barnes

13

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     PLAINTIFF’S SUPPLEMENT IN RESPONSE
     TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
     No. 2:17-cv-01731-TSZ
